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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                          PLAINTIFF

v.                             Case No. 4:12CR00213-004 KGB

JIMMY J. WHEELER                                                                DEFENDANT

                                            ORDER

       Before the Court is defendant Jimmy J. Wheeler’s recent written communication with the

Court and defense counsel J. Brooks Wiggins’s recent oral communications with the Court. On

March 13, 2013, United States Magistrate Judge Jerome T. Kearney appointed Ms. Wiggins to

represent defendant Jimmy J. Wheeler in this matter (Dkt. 45).

       For good cause shown, CJA Patrick J. Benca is hereby substituted as counsel of record for

defendant Jimmy J. Wheeler, and CJA J. Brooks Wiggins is relieved from any further representation

of defendant in this matter.

       IT IS SO ORDERED this 14th day of November, 2013.



                                                    _________________________________
                                                    KRISTINE G. BAKER
                                                    UNITED STATES DISTRICT JUDGE
